  Case 19-32061-JKS                           Doc 75 Filed 02/11/22 Entered 02/12/22 00:15:41                     Desc Imaged
                                                   Certificate of Notice Page 1 of 10
 STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.
 0 Valuation of Security    0 Assumption of Executory Contract or Unexpired Lease        0 Lien Avoidance

                                                                                                                Last revised: August 1, 2020


                                                      UNITED STATES BANKRUPTCY COURT
                                                             District of New Jersey
 In Re:            Jean P Pollard                                                          Case No.:           19-32061-JKS
                                                                                           Judge:                Sherwood
                                                                Debtor(s)


                                                             CHAPTER 13 PLAN AND MOTIONS


     Original                                                        Modified/Notice Required          Date:         February 3, 2022
     Motions Included                                                Modified/No Notice Required

                                                   THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                    CHAPTER 13 OF THE BANKRUPTCY CODE.

                                                             YOUR RIGHTS MAY BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual
Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss them with
your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it must file a
written objection within the time frame stated in the Notice. Your rights may be affected by this plan. Your claim
may be reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included
motions may be granted without further notice or hearing, unless written objection is filed before the deadline
stated in the Notice. The Court may confirm this plan, if there are no timely filed objections, without further
notice. See Bankruptcy Rule 3015. If this plan includes motions to avoid or modify a lien, the lien avoidance or
modification may take place solely within the chapter 13 confirmation process. The plan confirmation order
alone will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid
or modify a lien based on value of the collateral or to reduce the interest rate. An affected lien creditor who
wishes to contest said treatment must file a timely objection and appear at the confirmation hearing to
prosecute same.

 The following matters may be of particular importance. Debtors must check one box on each line to
 state whether the plan includes each of the following items. If an item is checked as “Does Not” or if
 both boxes are checked, the provision will be ineffective if set out later in the plan.


THIS PLAN:

   DOES DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST
 ALSO BE SET FORTH IN PART 10.

   DOES DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF
 COLLATERAL, WHICH MAY RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE
 SECURED CREDITOR. SEE MOTIONS SET FORTH IN PART 7, IF ANY.

   DOES DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY
 SECURITY INTEREST. SEE MOTIONS SET FORTH IN PART 7, IF ANY.

                                                                                    1
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                                                   Certificate of Notice Page 2 of 10

 Initial Debtor(s)' Attorney SET                                     Initial Debtor:       JPP             Initial Co-Debtor

 Part 1: Payment and Length of Plan

        a. The debtor shall pay a total of $21,300.00 to the Chapter 13 Trustee from December 2019 through
 January 2022; the debtor shall pay $1,595.00 monthly to the Chapter 13 Trustee starting February 2022 for
 approximately 34 months. The total length of plan is approximately 60 months.


             b. The debtor shall make plan payments to the Trustee from the following sources:
                           Future Earnings
                           Other sources of funding (describe source, amount and date when funds are available):


             c. Use of real property to satisfy plan obligations:
                            Sale of real property
                            Description:
                            Proposed date for completion:

                                      Refinance of real property:
                                      Description:
                                      Proposed date for completion:

                                      Loan modification with respect to mortgage encumbering property:
                                      Description:
                                      Proposed date for completion:

             d.                       The regular monthly mortgage payment will continue pending the sale, refinance or
                                      loan modification.
             e.                       Other information that may be important relating to the payment and length of plan:


 Part 2: Adequate Protection                                                           X   NONE
        a. Adequate protection payments will be made in the amount of $                                      to be paid to the Chapter 13
 Trustee and disbursed pre-confirmation to    (creditor).

        b. Adequate protection payments will be made in the amount of $                                      to be paid directly by the
 debtor(s) outside the Plan, pre-confirmation to: (creditor).

 Part 3: Priority Claims (Including Administrative Expenses)

       a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:

 Creditor                                              Type of Priority                                                          Amount to be Paid
 Scott E. Tanne                                        Attorney Fees                                                                       5,073.97
 Scott E. Tanne                                        Attorney Fees                              estimated at 1,500.00, subject to Court approval
 IRS                                                   Taxes and certain other debts                                                     40,912.79
 NJ                                                    Taxes and certain other debts                                                       3,519.26

       b. Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
          Check one:
             None
                                                                                   2
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                                                   Certificate of Notice Page 3 of 10
          The allowed priority claims listed below are based on a domestic support obligation that has been
        assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim
        pursuant to 11 U.S.C.1322(a)(4):
 Creditor                   Type of Priority            Claim Amount                 Amount to be Paid

 Part 4: Secured Claims


 a. Curing Default and Maintaining Payments on Principal Residence:                                     NONE

          The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly
 obligations and the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the
 bankruptcy filing as follows:
                                                                                              Interest Amount to be Paid    Regular Monthly
                                                                                              Rate on      to Creditor (In Payment (Outside
 Creditor                                   Collateral or Type of Debt         Arrearage    Arrearage               Plan)             Plan)
 LoanCare LLC                               627 Dorothy Lane             10,442.15, plus          0.00   10,442.15, plus pursuant to note
                                            Landing, NJ 07850                   5,982.02                        5,982.02     and mortgage
                                                                            pursuant to
                                                                             court order



 b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears:
             NONE

 The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations
 and the debtor will pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy
 filing as follows:
                                                                                              Interest Amount to be Paid   Regular Monthly
                                                                                              Rate on     to Creditor (In Payment (Outside
 Creditor                                   Collateral or Type of Debt          Arrearage   Arrearage              Plan)              Plan)
 Santander Consumer USA                     2016 Honda Accord                 419.35 plus         0.00      419.35 plus       pursuant to
                                                                                   531.00                         531.00           finance
                                                                                                                               agreement



 c. Secured claims excluded from 11 U.S.C. 506:                          NONE

 The following claims were either incurred within 910 days before the petition date and are secured by a
 purchase money security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred
 within one year of the petition date and secured by a purchase money security interest in any other thing of
 value:
                                                                                                            Total to be Paid through the Plan
                                                                                            Amount of           Including Interest Calculation
 Name of Creditor                           Collateral                        Interest Rate    Claim




  d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments                                      NONE

         1.) The debtor values collateral as indicated below. If the claim may be modified under Section
 1322(b)(2), the secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in
 Collateral,” plus interest as stated. The portion of any allowed claim that exceeds that value shall be treated
 as an unsecured claim. If a secured claim is identified as having “NO VALUE” it shall be treated as an
 unsecured claim.

                                        NOTE: A modification under this section ALSO REQUIRES

                                                                          3
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                                                   Certificate of Notice Page 4 of 10
                                     the appropriate motion to be filed under Section 7 of the Plan.

                                                                                                                    Value of
                                                                                           Total                    Creditor       Annual Total
                                                                      Scheduled       Collateral        Superior   Interest in    Interest Amount to
 Creditor                        Collateral                                Debt           Value           Liens    Collateral        Rate Be Paid



        2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the
 allowed secured claim shall discharge the corresponding lien.


 e. Surrender NONE
         Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and
 that the stay under 11 U.S.C 1301 be terminated in all respects. The Debtor surrenders the following
 collateral:
 Creditor                                                Collateral to be Surrendered                   Value of Surrendered      Remaining Unsecured
                                                                                                                   Collateral                      Debt
 Westlake Financial Services                             2012 Ford F450 Superduty                                  unknown            none - collateral
                                                                                                                                    surrendered in full
                                                                                                                                        satisfaction of
                                                                                                                                       creditor's claim




 f. Secured Claims Unaffected by the Plan                                      NONE

                   The following secured claims are unaffected by the Plan:
 Creditor
 Picatinny Federal Credit Union

 g. Secured Claims to be Paid in Full Through the Plan                                       NONE
 Creditor                                                      Collateral                                      Total Amount to be Paid through the Plan


 Part 5: Unsecured Claims                                   NONE

             a. Not separately classified allowed non-priority unsecured claims shall be paid:
                          Not less than $     to be distributed pro rata

                                      Not less than                  percent

                                      Pro Rata distribution from any remaining funds

             b. Separately classified unsecured claims shall be treated as follows:
 Creditor                                                Basis for Separate Classification         Treatment                         Amount to be Paid


 Part 6: Executory Contracts and Unexpired Leases                                            X   NONE

        (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of
 non-residential real property leases in this Plan.)

        All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected,
 except the following, which are assumed:



                                                                                  4
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                                                   Certificate of Notice Page 5 of 10
 Creditor                    Arrears to be Cured in                  Nature of Contract or Lease     Treatment by Debtor            Post-Petition Payment
                             Plan


 Part 7: Motions                        NONE

 NOTE: All plans containing motions must be served on all affected lienholders, together with local
 form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR
 3015-1. A Certification of Service, Notice of Chapter 13 Plan Transmittal and valuation must be filed
 with the Clerk of Court when the plan and transmittal notice are served.


             a. Motion to Avoid Liens under 11 U.S.C. Section 522(f). NONE
             The Debtor moves to avoid the following liens that impair exemptions:

                                                                                                                              Sum of All
                                                                                                              Amount of      Other Liens
                                               Type of                                        Value of          Claimed      Against the Amount of Lien
 Creditor                 Nature of Collateral Lien                      Amount of Lien      Collateral       Exemption         Property to be Avoided



             b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.
 NONE

        The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral
 consistent with Part 4 above:


                                                                                                                      Value of
                                                                                                                      Creditor's             Total Amount of
                                                                     Scheduled    Total Collateral                    Interest in                  Lien to be
 Creditor                    Collateral                              Debt         Value            Superior Liens     Collateral                Reclassified


         c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and
 Partially Unsecured.     NONE

         The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and
 to void liens on collateral consistent with Part 4 above:

                                                                                                                                              Amount to be
                                                                              Total Collateral            Amount to be Deemed                Reclassified as
 Creditor                    Collateral                        Scheduled Debt Value                                    Secured                   Unsecured

 Part 8: Other Plan Provisions
        a. Vesting of Property of the Estate
               Upon Confirmation
               Upon Discharge

       b. Payment Notices
       Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or
 coupons to the Debtor notwithstanding the automatic stay.


             c. Order of Distribution

             The Standing Trustee shall pay allowed claims in the following order:

                                                                                      5
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                                                   Certificate of Notice Page 6 of 10
                          1)       Ch. 13 Standing Trustee Commissions
                          2)       Other Administrative Claims
                          3)       Secured Claims
                          4)       Lease Arrearages
                          5)       Priority Claims
                          6)       General Unsecured Claims


             d. Post-Petition Claims

        The Standing Trustee is, is not authorized to pay post-petition claims filed pursuant to 11 U.S.C.
 Section 1305(a) in the amount filed by the post-petition claimant.


 Part 9: Modification                         NONE

 NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must
 be served in accordance with D.N.J. LBR 3015-2.

        If this Plan modifies a Plan previously filed in this case, complete the information below.
        Date of Plan being modified: June 8, 2019        .
 Explain below why the plan is being modified:                Explain below how the plan is being modified:
         To add post petition mortgage arrears to plan.                    same.

 Are Schedules I and J being filed simultaneously with this Modified Plan?                        Yes        No

 Part 10 : Non-Standard Provision(s): Signatures Required
        Non-Standard Provisions Requiring Separate Signatures:
           NONE
           Explain here:
            Any non-standard provisions placed elsewhere in this plan are ineffective.

 Signatures

The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the
debtor(s) certify that the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form,
Chapter 13 Plan and Motions, other than any non-standard provisions included in Part 10.

I certify under penalty of perjury that the above is true.

 Date: February 3, 2022                                              /s/ Jean P Pollard
                                                                     Jean P Pollard
                                                                     Debtor
 Date:
                                                                     Joint Debtor


 Date        February 3, 2022                                        /s/ Scott E. Tanne
                                                                     Scott E. Tanne st2477
                                                                     Attorney for the Debtor(s)


                                                                       6
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                                                 Certificate of Notice Page 7 of 10
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 19-32061-JKS
Jean P Pollard                                                                                                         Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Feb 09, 2022                                               Form ID: pdf901                                                           Total Noticed: 68
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 11, 2022:
Recip ID                   Recipient Name and Address
db                     +   Jean P Pollard, 627 Dorothy Lane, Landing, NJ 07850-1410
cr                     +   LOANCARE, LLC, Phelan Hallinan & Schmieg, PC, 1617 JFK Boulevard, Suite 1400, Philadelphia, PA 19103-1814
518584750              +   Apothaker Scian, P.C., 520 Fellowship Road, Suite C306, PO Box 5496, Mount Laurel, NJ 08054-5496
518584751              +   Bank of America, 4909 Savarese Circle, Fl1-908-01-50, Tampa, FL 33634-2413
518584752              +   Bank of America, Po Box 982238, El Paso, TX 79998-2238
518628300              +   Bank of America, N.A., P O Box 982284, El Paso, TX 79998-2284
518584753             #+   Casha & Casha, LLC, 115 Horseneck Road Suite 2, Montville, NJ 07045-9365
518584755              +   Equifax, PO BOX 740241, Atlanta, GA 30374-0241
518584756              +   Euro Auto Works, LLC, 223 Horseneck Road, Fairfield, NJ 07004-1607
518584757              +   Experian, PO BOX 9701, Allen, TX 75013-9701
518584758              +   Financial Pacific Leasing, 3455 S. 344th Way, Ste 300, Auburn, WA 98001-9546
518584760              +   John Pollard, 627 Dorothy Lane, Landing, NJ 07850-1410
518584761              +   Kabbage, 925 Peachtree St. NE #1688, Atlanta, GA 30309-3918
518689648              +   LOANCARE, LLC, LOANCARE, LLC, 3637 SENTARA WAY, VIRGINIA BEACH VA 23452-4262
518584762              +   LoanCare LLC, Attn: Consumer Solutions Dept, Po Box 8068, Virginia Beach, VA 23450-8068
518584763              +   LoanCare LLC, 3637 Sentara Way, Virginia Beach, VA 23452-4262
519134987              +   LoanCare, LLC, Robertson, Anschutz, Schneid, Crane & Pa, 130 Clinton Road, Suite 202, Fairfield NJ 07004-2927
518584764              +   NJ Motor Vehicle Commision, PO BOx 071, Trenton, NJ 08666-0001
518681089              +   NYS Thruway Authority, 200 Southern Blvd, PO Box 189, Albany, NY 12201-0189
518613499              +   PCA Acquisition V, LLC c/o, Phillips & Cohen Associates, LTD, 1002 Justison Street, Wilmington DE 19801-5148
518584766              +   PCA Acquisitions, 1002 Justison Street, Wilmington, DE 19801-5148
518584767              +   Picatinny Federal Cr U, 100 Mineral Spring Dr, Dover, NJ 07801-1637
518584768              +   Picatinny Federal Credit Union, 100 Mineral Spring Drive, Dover, NJ 07801-1637
518625700              +   Picatiny Federal Credit Union, c/o Michael J Filippis, Esq., 276 Broad St, Ste 1, Bloomfield, NJ 07003-3292
518584773                  Rialto Recovery LLC, c/o David Rosen, Esq., 39 Jefferson Street, Passaic, NJ 07055
518584774              +   Robert N. Squillante, Esq., 100 Mineral Springs Drive, Dover, NJ 07801-1635
518663620                  State Farm Bank, c/o Becket and Lee LLP, PO Box 3001, Malvern PA 19355-0701
518584778                  State Farm Financial S, Attn Credit Reporting, Bloomington, IL 61702
518584779                  State of New Jersey, Division of Taxation, Bankruptcy Unit, PO Box 245, Trenton, NJ 08695-0245
518584783             +    Trans Union, PO BOX 2000, Chester, PA 19016-2000
518584785             +    USAA Federal Savings Bank, 10750 Mc Dermott, San Antonio, TX 78288-1600
518584784             +    USAA Federal Savings Bank, Attn: Bankruptcy, 10750 Mcdermott Freeway, San Antonio, TX 78288-1600
518584786            ++    VALLEY, ATTN ATTN LEGAL DEPARTMENT, 1455 VALLEY ROAD, WAYNE NJ 07470-8448 address filed with court:, Valley
                           National Bank, Attn: Legal Dept, 1455 Valley Rd, Wayne, NJ 07470
518584787              +   Valley National Bank, 1460 Valley Rd, Wayne, NJ 07470-8494
518584788              +   Violations Processing Center, PO Box 15186, Albany, NY 12212-5186

TOTAL: 35

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Feb 09 2022 20:31:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
      Case 19-32061-JKS             Doc 75 Filed 02/11/22 Entered 02/12/22 00:15:41                                   Desc Imaged
                                         Certificate of Notice Page 8 of 10
District/off: 0312-2                                        User: admin                                                        Page 2 of 4
Date Rcvd: Feb 09, 2022                                     Form ID: pdf901                                                  Total Noticed: 68
smg              + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                         Feb 09 2022 20:31:00   United States Trustee, Office of the United States
                                                                                                Trustee, 1085 Raymond Blvd., One Newark
                                                                                                Center, Suite 2100, Newark, NJ 07102-5235
cr               + Email/Text: enotifications@santanderconsumerusa.com
                                                                         Feb 09 2022 20:31:00   Santander Consumer USA Inc., PO Box 961245,
                                                                                                Fort Worth, TX 76161-0244
cr               + Email/PDF: gecsedi@recoverycorp.com
                                                                         Feb 09 2022 20:34:11   Synchrony Bank, c/o PRA Recievables
                                                                                                Management, LL, POB 41021, Norfolk, VA
                                                                                                23541-1021
518584749          Email/Text: ebnbankruptcy@ahm.honda.com
                                                                         Feb 09 2022 20:31:00   American Honda Finance, Attn: Bankruptcy, Po
                                                                                                Box 168088, Irving, TX 75016
518603871          Email/Text: ebnbankruptcy@ahm.honda.com
                                                                         Feb 09 2022 20:31:00   American Honda Finance Corporation, National
                                                                                                Bankruptcy Center, P.O. Box 168088, Irving, TX
                                                                                                75016-8088
518683123          Email/Text: bnc@atlasacq.com
                                                                         Feb 09 2022 20:30:00   Atlas Acquisitions LLC, 492C Cedar Lane, Ste
                                                                                                442, Teaneck, NJ 07766
519118076          Email/PDF: bncnotices@becket-lee.com
                                                                         Feb 09 2022 20:34:08   Afni, Inc., c/o Becket and Lee LLP, PO Box 3001,
                                                                                                Malvern PA 19355-0701
519118077        + Email/PDF: bncnotices@becket-lee.com
                                                                         Feb 09 2022 20:34:15   Afni, Inc., c/o Becket and Lee LLP, PO Box 3001,
                                                                                                Malvern PA 19355-0701, Afni, Inc., c/o Becket
                                                                                                and Lee LLP 19355-0701
518655273          Email/Text: ally@ebn.phinsolutions.com
                                                                         Feb 09 2022 20:30:00   Ally Capital, PO Box 130424, Roseville MN
                                                                                                55113-0004
518584748        + Email/Text: ally@ebn.phinsolutions.com
                                                                         Feb 09 2022 20:30:00   Ally Financial, P.o. Box 380901, Bloomington,
                                                                                                MN 55438-0901
518598494          Email/Text: Bankruptcy.RI@Citizensbank.com
                                                                         Feb 09 2022 20:30:00   Citizens Bank N.A., One Citizens Bank Way,
                                                                                                JCA115, Johnston, Rhode Island 02919
518584771          Email/Text: Bankruptcy.RI@Citizensbank.com
                                                                         Feb 09 2022 20:30:00   RBS Citizens Cc, 1 Citizens Dr., Ms: Rop 15b,
                                                                                                Riverside, RI 02915
518584772          Email/Text: Bankruptcy.RI@Citizensbank.com
                                                                         Feb 09 2022 20:30:00   RBS Citizens Cc, 1000 Lafayette Blvd,
                                                                                                Bridgeport, CT 06604
518584754        + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                         Feb 09 2022 20:45:39   Citibank, NA, PO Box 769006, San Antonio, TX
                                                                                                78245-9006
518584758        + Email/Text: dmckittrick@finpac.com
                                                                         Feb 09 2022 20:31:00   Financial Pacific Leasing, 3455 S. 344th Way, Ste
                                                                                                300, Auburn, WA 98001-9546
518584759          Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                  Feb 09 2022 20:31:00          IRS, PO BOX 7346, Philadelphia, PA 19101-7346
518584777          Email/Text: HOME.SFBANK-BCCBKNOTICE@fisglobal.com
                                                                  Feb 09 2022 20:30:00          State Farm Financial S, 1 State Farm Plaza,
                                                                                                Bloomington, IL 61710
518584769          Email/Text: Bankruptcy.Notices@pnc.com
                                                                         Feb 09 2022 20:30:00   PNC Bank, Attn: Bankruptcy, Po Box 94982:
                                                                                                Mailstop Br-Yb58-01-5, Cleveland, OH 44101
518584770          Email/Text: Bankruptcy.Notices@pnc.com
                                                                         Feb 09 2022 20:30:00   PNC Bank, Po Box 3180, Pittsburgh, PA 15230
518584765        + Email/PDF: gecsedi@recoverycorp.com
                                                                         Feb 09 2022 20:34:11   Paypal Credit, PO Box 105658, Atlanta, GA
                                                                                                30348-5658
518618209        + Email/Text: enotifications@santanderconsumerusa.com
                                                                         Feb 09 2022 20:31:00   SANTANDER CONSUMER USA, P.O. Box
                                                                                                560284, Dallas, TX 75356-0284
518584775        + Email/Text: enotifications@santanderconsumerusa.com
                                                                         Feb 09 2022 20:31:00   Santander Consumer USA, Attn: Bankruptcy,
                                                                                                10-64-38-Fd7 601 Penn St, Reading, PA
                                                                                                19601-3544
518584776        + Email/Text: enotifications@santanderconsumerusa.com
                                                                         Feb 09 2022 20:31:00   Santander Consumer USA, Po Box 961211, Fort
                                                                                                Worth, TX 76161-0211
518679406        + Email/PDF: gecsedi@recoverycorp.com
                                                                         Feb 09 2022 20:34:11   Synchrony Bank, c/o PRA Receivables
                                                                                                Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                23541-1021
       Case 19-32061-JKS                  Doc 75 Filed 02/11/22 Entered 02/12/22 00:15:41                                        Desc Imaged
                                               Certificate of Notice Page 9 of 10
District/off: 0312-2                                               User: admin                                                            Page 3 of 4
Date Rcvd: Feb 09, 2022                                            Form ID: pdf901                                                      Total Noticed: 68
518671886                Email/PDF: gecsedi@recoverycorp.com
                                                                                   Feb 09 2022 20:34:11     Synchrony Bank, Attn: Bankruptcy Department,
                                                                                                            PO Box 530912, Atlanta, GA 30353-0912
518585725             + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Feb 09 2022 20:34:11     Synchrony Bank, c/o of PRA Receivables
                                                                                                            Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                            23541-1021
518584780             + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Feb 09 2022 20:34:20     Synchrony Bank/Yamaha, Po Box 965073,
                                                                                                            Orlando, FL 32896-5073
518584781             + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Feb 09 2022 20:34:03     Synchrony/CareCredit, Attn: Bankruptcy, Po Box
                                                                                                            965061, Orlando, FL 32896-5061
518584782             + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Feb 09 2022 20:34:03     Synchrony/CareCredit, C/o Po Box 965036,
                                                                                                            Orlando, FL 32896-0001
518684332                Email/Text: RPSBankruptcyBNCNotification@usbank.com
                                                                                   Feb 09 2022 20:31:00     U.S. Bank NA dba Elan Financial Services,
                                                                                                            Bankruptcy Department, PO Box 108, St. Louis
                                                                                                            MO 63166-0108
518584789             + Email/Text: bankruptcynotice@westlakefinancial.com
                                                                                   Feb 09 2022 20:31:00     Westlake Financial Services, Attn: Bankruptcy, Po
                                                                                                            Box 76809, Los Angeles, CA 90076-0809
518584790             + Email/Text: bankruptcynotice@westlakefinancial.com
                                                                                   Feb 09 2022 20:31:00     Westlake Financial Services, 4751 Wilshire Bvld,
                                                                                                            Los Angeles, CA 90010-3847
518658814             + Email/Text: bankruptcynotice@westlakefinancial.com
                                                                                   Feb 09 2022 20:31:00     Westlake Financial Services, 4751 Wilshire Blvd,
                                                                                                            Suite 100, Los Angeles, CA 90010-3847

TOTAL: 34


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr               *+            LoanCare, LLC, Robertson, Anschutz, Schneid, Crane & Pa, 130 Clinton Road, Suite 202, Fairfield, NJ 07004-2927

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 11, 2022                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 8, 2022 at the address(es) listed
below:
Name                             Email Address
John R. Morton, Jr.
                                 on behalf of Creditor Santander Consumer USA Inc. ecfmail@mortoncraig.com mortoncraigecf@gmail.com

Marie-Ann Greenberg
                                 magecf@magtrustee.com

Melanie Carmela Grimes
      Case 19-32061-JKS           Doc 75 Filed 02/11/22 Entered 02/12/22 00:15:41                                      Desc Imaged
                                      Certificate of Notice Page 10 of 10
District/off: 0312-2                                      User: admin                                                          Page 4 of 4
Date Rcvd: Feb 09, 2022                                   Form ID: pdf901                                                    Total Noticed: 68
                          on behalf of Creditor LOANCARE LLC nj.bkecf@fedphe.com

Scott E. Tanne
                          on behalf of Debtor Jean P Pollard ecf@tannelaw.com tanne.ecf.email@gmail.com;tannesr87179@notify.bestcase.com

Shauna M Deluca
                          on behalf of Creditor LoanCare LLC sdeluca@raslg.com

Sindi Mncina
                          on behalf of Creditor LOANCARE LLC smncina@raslg.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 7
